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NORFOLK COUNTY
Z Docket Report

2482CV01098 James D. Wines, Jr., M.D., M.P.H vs. President & Fellows of Harvard College Doing Business as
Harvard Medical School

CASE TYPE: Administrative Civil Actions FILE DATE: 11/08/2024

ACTION CODE: E17 CASE TRACK: A- Average

DESCRIPTION: Civil Rights Act, G.L. c. 12 § 11H

CASE DISPOSITION DATE :01/29/2025 CASE STATUS: Closed

CASE DISPOSITION: Transferred to another Court STATUS DATE: 01/29/2025

CASE JUDGE: CASE SESSION: CivilA

DCM TRACK

Tickler Description Due Date Completion Date
__ Service 02/06/2025 0129/2025
__ Rule 12/19/20 Served By 03/08/2025 01/29/2025
_ Answer 03/10/2025 0129/2025 0
__ Rule 12/19/20 Filed By 04/07/2025 0129/2025 0
__ Rule 12/19/20 Heard By 05/07/2025 O1/29/2025
_Rule 15 Served By 01/02/2026 02972025 0
__Rule 15 Filed By 02/02/2026 0129/2025 0
__Rule 15 Heard By 02/02/2026 OV29/2025 0
__Discovery 10/29/2026 01/29/2025
__Rules6 Served By 11/30/2026 02972025
_Rule 56 Filed By 12/28/2026 02972025
__Final Pre-Trial Conference, 04/27/2027 02972025 0

Judgment 11/08/2027 01/29/2025

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Added Date: 11/08/2024

Printed: 01/30/2025 8:46 am Case No: 2482CV01098 Page: 1

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NORFOLK COUNTY
Docket Report
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FINANCIAL DETAILS
Date Fees/Fines/Costs/Charge Assessed Paid Dismissed Balance
11/08/2024 Civil Filing Fee (per Plaintiff) Receipt: 240.00 240.00 0.00 0.00
30418 Date: 11/08/2024
11/08/2024 Civil Security Fee (G.L. c. 262, § 4A) 20.00 20.00 0.00 0.00
Receipt: 30418 Date: 11/08/2024
11/08/2024 Civil Surcharge (G.L. c. 262, § 4C) 15.00 15.00 0.00 0.00
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More Witnesses MGL 262 sec. 4b
Receipt: 30418 Date: 11/08/2024
Total 280.00 280.00 0.00 0.00
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a aN NORFOLK COUNTY
Docket Report

INFORMATIONAL DOCKET ENTRIES

Date Ref Description Judge
11/08/2024 ___ -1____Complaint electronically filed. ee
11/08/2024 2____—Civilaction cover sheetfiled, _
11/08/2024 3 Plaintiff James D. Wines, Jr., M.D., M.P.H's Statement in
-o.2----...-... .Pursuantto Rule 29 Wee - _ .
11/08/2024 Case assigned to:
cee __DCM Track A - Average was added on 11/08/2024 ee
11/08/2024 _____Notice of 93A complaint sent toAttomey General
11/08/2024 EDocument sent:

A Tracking Order was generated and sent to:

Plaintiff, Attorney: Douglas Scott Brooks, Esq. dbrooks@lhbmiegal.com
_-..--..--.......... Plaintiff, Attorney: Sarah M Milkovich, Esq. smilkovich@Ihbmlegal.com _
11/12/2024 _____Docket Note: 1 Summons Mailed on 11/12/2024 .
01/29/2025 Aitorney appearance

On this date William Walter Fick, Esq. added for Defendant President &
ou ses... ...... Fellows of Harvard College Doing Business as Harvard Medical School
01/29/2025 Defendant President & Fellows of Harvard College Doing Business as Harvard

Medical School's Notice of
-o owe... Appearance of William W. Fick, Esq. on their behalf. (e-Filed)dg _
01/29/2025 4 Defendant President & Fellows of Harvard College Doing Business as Harvard

Medical School's Notice of
Wen e ea. ......Filing Notice of Removal (E-Filed 01/27/2025)mk Loe
01/29/2025 _____—_——Casetransferredtoanothercourt,
01/30/2025 Docket Note: On this date copies of all pleadings attested were mailed to

Attorney Wiiliam Walter Fick, Esq.

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Deputy Assistant Clerk

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Docket Number

Docketed 11/08/2024 1

COMMONWEALTH OF MASSACHUSETTS

NORFOLK, ss. SUPERIOR COURT DEPARTMENT OF
THE TRIAL COURT

)
)
JAMES WINES,
Plaintiff,

y Civil Action No. 2482CV01098
PRESIDENT & FELLOWS OF HARVARD
COLLEGE d/b/a HARVARD MEDICAL SCHOOL —_}
Defendant.
)
)

COMPLAINT AND JURY DEMAND

PARTIES

1. Plaintiff James D. Wines, Jr., M.D., M.P.H., resides in Quincy, Norfolk County,
Massachusetts.

2. The President and Fellows of Harvard College is a nonprofit corporation
established under the laws and Constitution of the Commonwealth of Massachusetts that
operates its Harvard Medical School (“Defendant,” “Harvard,” or “HMS”). Harvard’s principal
location is in Cambridge, Middlesex County, Massachusetts.

FACTS

3. HMS faculty appointments are among the most prestigious academic credentials

in the medical field. The appointment process is incredibly competitive and rigorous.

Candidates for the Instructor position are expected to demonstrate academic excellence, the
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recommendations of respected colleagues in medicine, scholarly achievements such as
successful publications, the potential for obtaining research funding, and a commitment to
teaching and mentoring Harvard students. Before being appointed to the Instructor position, a
candidate must face multiple rounds of review—by HMS Department Heads and Harvard’s
Office for Faculty Affairs—and be selected out of a collection of peers.

4. Once someone has been appointed as an HMS Instructor, he or she is a Harvard
faculty member with rights and benefits. An Instructor has a constitutionally protected interest
in his or her earned academic appointment. This protected interest is akin to the protected
interests doctors hold in their medical licenses, university graduates hold in their degrees, and
students hold in their university enrollment.

5. An HMS Instructor appointment confers substantial financial and professional
benefits on the doctor who achieves the credential, all of which are compensation for his or her
contributions to the university. In addition to the earned prestige that comes with the
appointment, Instructors also enjoy more research, grant, and publication opportunities than their
peers. Perhaps the most significant financial value of the HMS Instructor appointment is its
direct impact on a doctor’s future earning potential. HMS Instructors are highly sought after by
hospitals across the United States. Instructors are more likely to receive clinical or research
employment positions than their peers. Further, as a result of their academic appointment,
Instructors are more likely to receive prestigious positions at top hospitals that provide more
lucrative compensation. That is, HMS Instructors receive many more and meaningfully better
opportunities for professional career development than doctors who have not earned the
appointment. For these reasons, academic appointments to the HMS faculty are more important

and valuable for doctors’ professional careers than any particular employment role.
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6. In 1989, Dr. Wines became an Intern in Medicine at Massachusetts General
Hospital. In 1990, he earned a Clinical Fellowship in Psychiatry from HMS. In 1993, Dr. Wines
earned an academic appointment in HMS’s Faculty of Medicine as an HMS Instructor of
Psychiatry. Dr. Wines held this HMS academic appointment for nearly thirty years.

7. Approximately every two or three years, HMS would renew Dr. Wines’s
appointment as Instructor. At least one colleague familiar with HMS’s faculty appointment
process communicated to Dr. Wines that, given his extensive expertise, mentorship, and research
contributions in psychiatry and psychopharmacology, HMS would likely promote him to the
higher appointment of Assistant Professor in Psychiatry if he was interested in seeking that role.
All of Dr. Wines’s interactions with HMS faculty members supported his reasonable and well-
founded expectation that his faculty appointment would continue to be renewed (and even
promoted) throughout the course of his career. Dr. Wines had intended to remain a Harvard
faculty member for the entirety of his career, and to potentially seek promotion to the role of
Assistant Professor.

8. Throughout his time as an HMS faculty member, Dr. Wines’s relationship with
HMS was governed by the HMS Faculty of Medicine Handbook (the ““HMS Handbook”), which

includes by reference a Non-Discrimination Policy. !

' The version of the HMS Faculty of Medicine Handbook that is currently in effect is available
online at https://facultyhandbook.hms.harvard.edu/. Upon information and belief, an earlier
version of the HMS Handbook (of which Harvard presumably has custody) had been in effect in
1989, at the time when Dr. Wines was initially appointed as an HMS Instructor. Upon
information and belief, yet another version of the HMS Handbook was in effect at the time when
Dr. Wines’s faculty appointment had most recently been renewed.

The current version of the Harvard University Non-Discrimination Policy is available online at
https://provost.harvard.edu/files/provost/files/non-discrimination_and_anti-bullying_policies.pdf.

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9, On or around November 10, 2021, Dr. Wines discovered that his academic
appointment as an HMS Instructor was involuntarily terminated, without notice or cause. Dr.
Wines only discovered this adverse action because he happened to call into the Harvard
Registrar’s Office in or around the week when HMS had terminated his appointment. It does not
appear that anyone at Harvard would have even informed Dr. Wines that his appointment had
been terminated, had Dr. Wines himself not reached out himself and stumbled upon that
information.

10. Upon information and belief, it is incredibly rare for Instructors to involuntarily
lose their academic appointments at HMS. Instead, virtually all Instructors maintain their
appointments unless and until they decide to retire, move to another university, or seek
promotion to a higher HMS faculty position. Section 4.5 of the HMS Handbook explicitly states
that faculty members like Instructors “may be reappointed at any rank indefinitely.” In fact,
throughout his nearly thirty years as an HMS faculty member, Dr. Wines never learned of any
HMS faculty member being involuntarily terminated, until he discovered his own termination in
November 2021.

11. Upon information and belief, based on the timing of Harvard’s involuntarily
termination of Dr. Wines’s faculty appointment, that termination was based wholly, or in large
part, on Harvard-affiliate Mass General Brigham’s wrongful, discriminatory treatment of Dr.

Wines.

12. On June 24, 2021, Mass General Brigham’s President and CEO, Ann Klibanski,
announced that all employees would be required to receive one of three COVID-19 vaccines,
with the exception of employees who were granted exemptions for “medical and religious

reasons.”
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13. On or about September 2, 2021, Dr. Wines timely submitted both a Medical
Exemption Request and a Religious Exemption Request (together, the “Exemption Requests’) to
Mass General Brigham, seeking reasonable accommodations under the Americans with
Disabilities Act (“ADA”) and Title VII of the Civil Rights Act. Dr. Wines’s Exemption
Requests explained that (a) the COVID-19 vaccines posed significant medical contraindications
for his health; and (b) his sincerely held religious beliefs rendered the vaccines morally
repugnant, including because all COVID-19 vaccines available at that time utilized aborted fetal
tissue in their design, testing, and/or production.

14. Mass General Brigham denied Dr. Wines’s Medical Exemption Request on
September 17, 2021. The hospital system then denied Dr. Wines’s Religious Exemption Request
on September 23, 2021. These denials contained virtually no discussion, other than to state that
the Exemption Requests were not “sufficient” and that there was “no appeal process.” Mass
General Brigham did not engage in any meaningful discussion or exemption review process, nor
did it disclose information about the evaluation criteria, review process, or identity or
qualification of the decisionmakers involved in denying Dr. Wines’s Exemption Requests. Upon
information and belief, Mass General Brigham had predetermined that it would deny most or all
medical and religious exemption requests.

15. Mass General Brigham involuntarily terminated Dr. Wines’s employment on
November 10, 2021, because of his inability to receive a COVID-19 vaccination for medical and
religious reasons. This adverse treatment by Mass General Brigham violated Dr. Wines’s
constitutional rights to equal protection, substantive due process, procedural due process, and
free exercise of religion. Mass General Brigham’s wrongful termination of Dr. Wines also

violated the ADA and Title VII of the Civil Rights Act.
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16. | Upon information and belief, at or around the same time when Mass General
Brigham illegally terminated Dr. Wines’s employment, HMS involuntarily terminated his
academic appointment as an HMS Instructor of Psychiatry. Upon information and belief, the
sole basis for Harvard’s decision to deprive Dr. Wines of his academic appointment was the fact
that Mass General Brigham had separately terminated Dr. Wines’s employment. Dr. Wines
received no notice or warning of any sort from HMS that he may be stripped of his academic
appointment. HMS provided Dr. Wines no process before terminating his appointment; he was
not given the opportunity to be heard, submit a request for religious or medical exemption
requests, or appeal the adverse decision. HMS’s involuntary termination of Dr. Wines’s faculty
appointment was completely devoid of procedural due process. Because, upon information and
belief, HMS based its termination decision on Mass General Brigham’s decisionmaking, HMS’s
adverse decision was tainted by the same religious, medical, and academic viewpoint
discrimination underlying Mass General Brigham’s wrongful termination. The fact that HMS
may have “outsourced” its termination decisionmaking to another party does not immunize HMS
from liability for the wrongfulness or discriminatory nature of the termination.

17. Dr. Wines never voluntarily terminated either his employment at Mass General
Brigham or his academic appointment at HMS.

18. Harvard’s involuntary termination of Dr. Wines’s academic appointment violated
the contractual obligations established in the HMS Handbook in multiple respects.

19, Section 4.6 of the HMS Handbook, titled “Termination Documentation and
Lengths of Notice,” provides that faculty members like Instructors should receive “written notice
of the . . . loss of the Harvard appointment if the termination is to occur prior to the conclusion of

the designated term. The expected period of notice would be: ... Instructors . . . three (3)
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months... .” In violation of Section 4.6, HMS provided Dr. Wines no notice—written or
verbal—that his faculty appointment was being involuntarily terminated. Instead, Dr. Wines had
to reach out to HMS to discover that that adverse action was imposed without his knowledge.
Upon information and belief, HMS’s involuntary termination took place before the conclusion of
the designated term for Dr. Wines’s Instructor appointment.
20. Section 3.2 of the HMS Handbook is titled “Academic Freedom: Rights and
Responsibilities for All Faculty.” Section 3.2 states:
Harvard University has promulgated statements regarding rights, responsibilities,
and community values, which govern our activities. In keeping with the
traditional concepts of academic freedom, faculty cannot be dismissed for holding
controversial opinions, for proposing heretical viewpoints, or for espousing
unpopular causes. They are all entitled to the classical protection of the academy

in the pursuit of knowledge, in their teaching, and in the publication of findings
and opinions.

In violation of Section 3.2, Dr. Wines, an HMS faculty member was “dismissed for holding
controversial opinions, for proposing heretical viewpoints, or for espousing unpopular causes.”
Specifically, Dr. Wines’s termination from the HMS faculty was premised on Mass General
Brigham’s decisionmaking, which was in turn premised on viewpoint discrimination against Dr.
Wines’s controversial minority viewpoint related to COVID-19 vaccines.

21. Section 3.3 of the HMS Handbook is titled “Non-Discrimination and Non-

Bullying.” Section 3.3 states:

It is the strong and consistent policy of Harvard University, Harvard Medical
School, and Harvard School of Dental Medicine, to treat all members of the
communities with respect, to provide an environment conducive to learning and
working, and to ensure equal access to rights, privileges and opportunities without
regard to race, color, religion, sex, national origin, disability status, protected
veteran status, gender identity, sexual orientation, pregnancy and pregnancy-
related conditions or any other characteristic protected by law or deemed by
Harvard to warrant equal rights protection under applicable policies.
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HMS violated its contractual obligations under Section 3.3 by terminating Dr. Wines’s faculty

appointment on the basis of Mass General Brigham’s decision, which was in turn premised on

discrimination against Dr. Wines because of his religious beliefs, disability status, creed,” and

political beliefs.>

22. Section 3.3 also incorporates by reference the Harvard University Non-

Discrimination Policy, which states:
Discrimination on the basis of the following protected categories, or any other
legally protected basis, is unlawful and is prohibited by this Policy[:] . . . religion .
.. creed... disability .. . political beliefs .... Discrimination is adverse
treatment of an individual based on one or more of the protected characteristics
listed in this Policy. In a university setting, complaints of discrimination may
arise in the employment context and the education context, in the following
potential forms: ... Terminating, suspending, dismissing, or expelling an
individual based on their protected characteristic.

HMS violated Section 3.3 by terminating Dr. Wines on the basis of Mass General Brigham’s

decision, which was in turn based on discrimination against Dr. Wines because of his religious

beliefs, disability status, creed, and political beliefs.

23. Upon information and belief, if Dr. Wines had received a COVID-19
vaccination—despite his medical contraindications and sincerely held religious objections
against doing so—HMS would not have terminated Dr. Wines’s faculty appointment, and Dr.

Wines would still hold an HMS faulty appointment to this day. Similarly, even after Dr. Wines’s

HMS appointment was terminated, if he had then given into pressure to receive a COVID-19

* Creed is “deemed by Harvard to warrant equal rights protection under applicable policies,”
specifically, under the Harvard University Non-Discrimination Policy. See Compl. § 22.

3 Political beliefs are “deemed by Harvard to warrant equal rights protection under applicable
policies,” specifically, under the Harvard University Non-Discrimination Policy. See Compl.
22.
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vaccination, upon information and belief, HMS would have reinstated Dr. Wines’s faculty
appointment.

24. HMS has caused Dr. Wines significant harm by wrongfully stripping him of his
earned academic appointment as an HMS Instructor. Since being involuntarily terminated by
HMS, and as a direct result of that termination, Dr. Wines has lost out on potential research,
publication, grant, employment, and other professional opportunities. HMS’s wrongful
termination has also caused lost wages, lost benefits, costs related to survival without income
from work, and stress to Dr. Wines and his family. The loss of his academic appointment has
also harmed Dr. Wines’s reputation and his ability to obtain future academic and professional
opportunities. To be clear, even though non-party Mass General Brigham chose to wrongfully
terminate Dr. Wines’s employment, Dr. Wines’s academic appointment as an HMS Instructor
would have made him a very desirable candidate for prestigious, lucrative professional
opportunities. That is, Dr. Wines suffered additional losses that he would not have suffered but
for HMS’s decision to wrongfully terminate his academic appointment. HMS is therefore
directly responsible for causing Dr. Wines financial, emotional, and reputational harms.

25. Harvard—like its affiliate Mass General Brigham—was effectively a state actor
with respect to the conduct at issue. Upon information and belief, Harvard and Mass General
Brigham were subjected to coercion by State and Federal governments to enact mandatory
COVID-19 vaccination requirements so that they would not lose any governmental funding,
which is a key component of and essential to the functioning of Harvard and Mass General
Brigham. Like Mass General Brigham, Harvard announced on or about July 8, 2021, that it
would require all faculty members to receive COVID-19 vaccinations. Upon information and

belief, Harvard and Mass General Brigham received incentives from the government for
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implementing and maintaining COVID-19 related mandates. These government inducements
include, but are not limited to the Centers for Medicare & Medicaid Services (hereinafter,
“CMS”), the Federal Emergency Management Agency (hereinafter, “FEMA”), the Coronavirus
Aid, Relief, and Economic Security Act (hereinafter, “CARES”), National Institutes of Health
(hereinafter, “NIH”), etc. State and Federal governments caused private entities, including
Harvard and Mass General Brigham, to enact and regulate COVID-19 policies and mandates for
purposes deemed by such governments to be necessary, resulting in the private entities doing the
bidding of the government. Essentially, Harvard, like Mass General Brigham, was caused to
take on a state/public function to implement, mandate and regulate policies to deal with COVID-

19.

CLAIMS FOR RELIEF

COUNT I- BREACH OF CONTRACT

26. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

27. | The HMS Handbook (including the Harvard University Non-Discrimination
Policy it incorporates by reference) is a binding contract between Harvard and its faculty
members. Dr. Wines was an HMS faculty member until HMS wrongfully terminated his
appointment in or around November 2021.

28. HMS materially breached the HMS Handbook by involuntarily terminating Dr.
Wines’s faculty appointment without cause and without notice. See HMS Handbook § 4.6.

29. HMS also materially breached the HMS Handbook and Harvard University Non-

Discrimination Policy by involuntarily terminating Dr. Wines’s faculty appointment on the basis

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of his religious beliefs, disability status, creed, and political beliefs. See HMS Handbook §§ 3.2,
3.3.

30. Dr. Wines has been harmed by these breaches.

31. Dr. Wines is entitled to damages as a result of these breaches.

COUNT II —- BREACH OF THE IMPLIED COVENANT OF
GOOD FAITH & FAIR DEALING

32. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

33. | The HMS Handbook (including the Harvard University Non-Discrimination
Policy it incorporates by reference) is an enforceable contract that contains a covenant of good
faith and fair dealing.

34. By virtue of the acts described above, HMS breached this covenant.

35. | The HMS Handbook explicitly states that faculty members have rights to
academic freedom and freedom from discrimination. See HMS Handbook §§ 3.2, 3.3. The
HMS Handbook further provides that faculty members may not be terminated on the basis of
religious beliefs, disability status, creed, political beliefs, or controversial academic perspectives.
See id. To the extent that the HMS Handbook does not explicitly state whether termination may
be based on a third party’s discrimination towards an HMS faculty member, the implied
covenant would operate to prohibit HMS from taking any adverse action against a faculty
member on the basis of such third-party discrimination. HMS’s decision to involuntarily
terminate Dr. Wines’s faculty appointment, on the basis of another entity’s discriminatory action

towards him, effectively destroyed Dr. Wines’s right to receive the fruit of his agreement with

HMS.

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36. Dr. Wines has been harmed by HMS’s breach of the implied covenant of good
faith and fair dealing.
37. Dr. Wines is entitled to damages as a result of this breach.

COUNT II — VIOLATION OF THE MASSACHUSETTS CIVIL RIGHTS ACT

38. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

39. Dr. Wines has the right to procedural due process, substantive due process, equal
protection, and to free exercise of religion, as guaranteed to him by the United States
Constitution and Massachusetts Constitution.

40. HMS interfered with, or attempted to interfere with, Dr. Wines’s exercise or
enjoyment of those constitutional rights.

4]. HMS used threats, intimidation, and coercion to interfere, or attempt to interfere,
with Dr. Wines’s constitutional rights by, among other things, improperly stripping away an
earned academic appointment Dr. Wines had held for nearly thirty years, harming Dr. Wines’s
reputation and ability to obtain employment and academic roles in the medical field, and
committing this harm as a manner of attempting to compel Dr. Wines to receive a COVID-19
vaccination despite his sincerely held religious beliefs against the COVID-19 vaccines.

42. Upon information and belief, Dr. Wines’s termination was intended to (a) deter
him from exercising his sincerely held religious beliefs; (b) compel him to act in a manner
repugnant to his religious beliefs; and (c) apply moral force against him in an attempt to
constrain him into receiving, against his will, a medical intervention that was contradictory to his

religious beliefs.

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43. Because of HMS’s conduct and inactions as aforementioned, HMS violated the
Massachusetts Civil Rights Act, G.L. c. 12, §§ 11H—11J.

44. __ Dr. Wines has been harmed by HMS’s violation of the Massachusetts Civil Rights
Act.

45. Dr. Wines is entitled to damages as a result of this violation.

COUNT IV —- VIOLATION OF PLAINTIFF’S
PROCEDURAL DUE PROCESS RIGHTS

46. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

47. The actions of HMS denied Dr. Wines his right to Due Process of Law as
guaranteed to him by the United States Constitution and Massachusetts Declaration of Rights.

48. HMS deprived Dr. Wines of his constitutionally protected interest (an earned
academic appointment as an HMS Instructor of Psychiatry) without notice; an opportunity for
Dr. Wines to be heard; or any proceeding during which Dr. Wines could hear any evidence
against him, respond to it directly himself, or call witnesses.

49. HMS was a state actor and/or instrumentality of the government for purposes of

the conduct at issue.

50. Because of HMS’s conduct and inactions as aforementioned, Dr. Wines’s

procedural due process rights were denied and violated.
51. Dr. Wines has been harmed by HMS’s violation of his constitutional rights.

52. Dr. Wines is entitled to damages as a result of these violations.

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COUNT V— VIOLATION OF PLAINTIFE’S
SUBSTANTIVE DUE PROCESS RIGHTS

53. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

54. Dr. Wines has the right and protected interest under the First, Fourth and
Fourteenth Amendment to the United States Constitution and Articles IV, X, XX, XXI, XXIX,
and XXX of the Massachusetts Declaration of Rights to be free from the invasion of bodily
integrity and to be free from unwanted medical intervention.

55. Because of these rights enjoyed by Dr. Wines under both the United States
Constitution and the Massachusetts Declaration of Rights, his substantive due process rights
were denied when HMS terminated his faculty appointment because of consequences Dr. Wines
faced as a direct result of his inability to receive a COVID-19 vaccinations on the basis of his
medical contraindications and sincerely held religious beliefs. To the extent that Mass Brigham
General was the party to originally violate Dr. Wines’s substantive due process rights, HMS
ratified and adopted Mass General Brigham’s constitutional violation when it also chose to strip
Dr. Wines of his faculty appointment.

56. HMS was a state actor and/or instrumentality of the government for purposes of
the conduct at issue.

57. Because of HMS’s conduct and inactions as aforementioned, Dr. Wines’s
substantive due process rights were denied and violated.

58. Dr. Wines has been harmed by HMS’s violation of his constitutional rights.

59. Dr. Wines is entitled to damages as a result of these violations.

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COUNT VI- VIOLATION OF PLAINTIFF’S
EQUAL PROTECTION & TREATMENT RIGHTS

60. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

61. The actions of HMS denied Dr. Wines his right to Equal Protection and equal
treatment as guaranteed to him by the United States Constitution and Massachusetts
Constitution.

62. | HMS singled out Dr. Wines for selective treatment based upon his sincerely held
religious objections to the COVID-19 vaccines. To the extent that Mass Brigham General was
the party to originally single out Dr. Wines for adverse treatment because of his religious beliefs,
HMS ratified and adopted Mass General Brigham’s discriminatory treatment when HMS also
chose to strip Dr. Wines of his faculty appointment.

63. In effect, HMS discriminated between religion and nonreligion by allowing those
without religious objections to the COVID-19 vaccines to continue on as faculty members,
although Dr. Wines was similarly situated with respect to expertise, mentorship contributions,
and research contributions.

64. Pursuant to the Fourteenth Amendment to the United States Constitution, and the
Massachusetts Constitution, Dr. Wines is guaranteed the right to equal protection and due
process of laws.

65. Dr. Wines had a right to be treated equally with HMS faculty members who are
nonreligious or have different religious beliefs.

66. Dr. Wines had no adequate remedy at law to protect him against the continuing

deprivation of his most cherished constitutional liberties and his sincerely held religious beliefs.

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67. Dr. Wines was treated differently than other HMS faculty members who had no
religious objection to the COVID-19 vaccines. HMS involuntarily terminated Dr. Wines’s
faculty appointment because his sincerely held religious beliefs were not accommodated and
Mass General Brigham wrongfully terminated his employment. To the extent that Mass
Brigham General was the party to originally violate Dr. Wines’s equal protection rights, HMS
ratified and adopted Mass General Brigham’s constitutional violation when HMS also chose to
strip Dr. Wines of his faculty appointment.

68. | HMS was a state actor and/or instrumentality of the government for purposes of
the conduct at issue.

69. | HMS has deprived Dr. Wines of the equal protection of the laws under United
States Constitution and Massachusetts Constitution by terminating his faculty appointment on
the basis of religious discrimination against him.

70. Dr. Wines has been harmed by HMS’s violation of his constitutional rights.

71. Dr. Wines is entitled to damages as a result of these violations.

COUNT VII — VIOLATION OF THE FREE EXERCISE CLAUSE OF THE UNITED
STATES CONSTITUTION & MASSACHUSETTS CONSTITUTION

72. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

73. The Free Exercise Clause of the First Amendment to the Unites States
Constitution, as applied to the states by the Fourteenth Amendment, prohibits the State from

abridging Dr. Wines’s right to free exercise of religion.

74. The religion clauses in the First Amendment of the United States Constitution
states: “Congress shall make no law respecting an establishment of religion, or prohibiting the

free exercise thereof.” U.S. Const., amend. I.

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75. Similarly, the Massachusetts Constitution provides that “No law shall be passed
prohibiting the free exercise of religion.” Mass. Const. Art. XVIII § 1.

76. By terminating Dr. Wines’s faculty appointment because he exercised his sincere
religious beliefs in the course of his employment with a third party, HMS violated Dr. Wines’s
fundamental rights, under the United States Constitution and Massachusetts Constitution, to the
free exercise of religion.

77. To the extent that Mass Brigham General was the party to originally violate Dr.
Wines’s rights to free exercise of religion, HMS ratified and adopted Mass General Brigham’s
constitutional violation when HMS also chose to strip Dr. Wines of his faculty appointment.

78. HMS was a state actor and/or instrumentality of the government for purposes of
the conduct at issue.

79. Because of HMS’s conduct and inactions as aforementioned, HMS denied and
violated Dr. Wines’s constitutional rights to free exercise of religion.

80. Dr. Wines has been harmed by HMS’s violation of his constitutional rights.

81. Dr. Wines is entitled to damages as a result of these violations.

COUNT VIII ~ VIOLATION OF 42 U.S.C. § 2000bb-1

82. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

83. | HMS violated 42 U.S.C. § 2000bb-1 by substantially burdening Dr. Wines’s
exercise of religion, while HMS was effectively an instrumentality of the federal government.

84. Specifically, HMS terminated Dr. Wines’s faculty appointment because he

exercised his sincere religious beliefs in the course of his employment with a third party.

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85. Because of HMS’s conduct and inactions as aforementioned, HMS violated 42
U.S.C. § 2000bb-1.

86. Dr. Wines has been harmed by HMS’s violation of 42 U.S.C. § 2000bb-1.

87. Dr. Wines is entitled to damages as a result of HMS’s violations.

COUNT IX — CIVIL CONSPIRACY

88. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

89. Upon information and belief, HMS had a common plan with Mass General
Brigham to identify individuals who were both HMS faculty members and Mass General
Brigham employees; require them to receive COVID-19 vaccinations; and wrongfully subject
them to adverse, discriminatory treatment if they would not receive COVID-19 vaccinations.

90. | Both HMS and Mass General Brigham took affirmative steps toward the
achievement of that shared purpose. Mass General Brigham denied Dr. Wines’s Exemption
Requests and terminated his employment. Upon information and belief, HMS must have been in
communication with Mass General Brigham about Dr. Wines’s religious objections to and
medical contraindications for COVID-19 vaccines because at or around the same time Mass
General Brigham terminated Dr. Wines’s employment, HMS took the further step of terminatin
Dr. Wines’s faculty appointment.

91. | Because of HMS’s concerted action with Mass General Brigham to commit
wrongful conduct, HMS is liable for civil conspiracy.

92. Dr. Wines has been harmed by HMS’s civil conspiracy.

93. Dr. Wines is entitled to damages as a result of HMS’s civil conspiracy.

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COUNT X — VIOLATION OF G.L. ¢. 93A, §§ 2 AND 11

94. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

95. Dr. Wines and HMS are both engaged in trade and commerce.

96. Dr. Wines’s interactions with HMS occurred in a business context, including
because professional motivations and research funding were primary aspects of the parties’
dealings.

97. HMS engaged in unfair and deceptive acts by, among other things:

i. Wrongfully stripping Dr. Wines of his earned academic appointment on
the basis of discriminatory reasoning;

ii. Concealing from Dr. Wines that he had been deprived of his academic
appointment;

ili. Upon information and belief, knowingly and willfully violating the
contractual rights conferred on Dr. Wines by the HMS Handbook;

iv. Unfairly and substantially injuring Dr. Wines’s reputation, professional
development, career opportunities, and future earning potential by making
the bad faith, discriminatory decision to deprive Dr. Wines of his earned
academic appointment;

v. Upon information and belief, coordinating with Dr. Wines’s then-
employer, Mass General Brigham, to immorally and unethically coerce
Dr. Wines into receiving an unwanted medical intervention, despite his

religious and medical objections to such medical intervention;

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vi. Retaliating against Dr. Wines in bad faith by terminating his earned
academic appointment on the basis of his religious beliefs, academic
viewpoints, political beliefs, and medical condition; and

vii. Oppressing Dr. Wines on the basis of his sincerely held religious beliefs.

98. | HMS’s unfair and deceptive acts and practices took place primarily and
substantially within Massachusetts.

99. Dr. Wines was harmed as a result of HMS’s unfair and deceptive acts and
practices.

100. Dr. Wines is entitled to damages as a result of these violations.

PRAYER FOR RELIEF

Dr. Wines prays that this Court:

A. Enter Judgment in Dr. Wines’s favor and against Defendant on all Counts;
B. Award Dr. Wines compensatory, general, and punitive damages;

C. Award Dr. Wines treble damages pursuant to G.L. c. 93A;

D. Award Dr. Wines his attorneys’ fees and costs;

E. Grant Dr. Wines equitable relief; and

F. Award Dr. Wines such other relief as the Court deems just.

DEMAND FOR JURY TRIAL

Dr. Wines hereby demands a trial by jury on all counts so triable.

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Respectfully submitted,
James D. Wines, Jr., M.D., M.P.H.,

By his Attorneys

Dated: November 8, 2024 /s/ Sarah M. Milkovich
Sarah M. Milkovich (BBO No. 705661)
Douglas S. Brooks (BBO No. 636697)
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Superior Court - Norfolk Docketed 11/08/2024

Docket Number DOCKET NUMBER Massachusetts Trial Court
CIVIL ACTION COVER SHEET Superior Court

2482CV01098
COUNTY |Norfoik Superior Court (Dedham)

Plaintiff James D. Wines, Jr., M.D., M.P.H. Defendant: President & Fellows of Harvard College d/b/a Harvard

- Medical Schoo!
ADDRESS: 7 Peterson Road ADDRESS: 1033 Massachusetts Avenue, Suite 3
Quincy, MA 02169 Cambridge, MA 02138-5366
Plaintiff Attorney: Sarah Milkovich Defendant Attorney:
ADDRESS: 260 Franklin Street ADDRESS:
Boston, MA 02110
BBO: 705661 BBO:

TYPE OF ACTION AND TRACK DESIGNATION (see instructions section on next page)
CODE NO. TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
E17 Civil Rights Act, contract, and related claims. A Xx YES C] NO

*If "Other" please describe:

Is there a claim under G.L. c. 93A? Is there a class action under Mass. R. Civ. P. 23?

xX] Yes [] no []yYes [x] NO

STATEMENT OF DAMAGES REQUIRED BY G.L. c. 212, § 3A

The following is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiffs counsel relies to determine money damages.
(Note to plaintiff: for this form, do not state double or treble damages; indicate single damages only.)

TORT CLAIMS
A. Documented medical expenses to date
1. Total hospital expenses
2. Total doctor expenses
3. Total chiropractic expenses
4. Total physical therapy expenses
5. Total other expenses (describe below)
Subtotal (1-5): $0.00
B. Documented lost wages and compensation to date l attest that this document is a
C. Documented property damages to date certified photocopy of an
D. Reasonably anticipated future medical and hospital expenses original on file.
E. Reasonably anticipated lost wages fn or 1/30 i “a
F. Other documented items of damages (describe below) Deputy Assistant Clerk
[Please see filed Rule 29 Statement.
TOTAL (A-F): $0.00

G. Briefly describe plaintiffs injury, including the nature and extent of the injury:
[Please see filed Rule 29 Statement.

CONTRACT CLAIMS
C] This action includes a claim involving collection of a debt incurred pursuant to a revolving credit agreement. Mass. R. Civ. P. 8.1(a).
Item # Detailed Description of Each Claim Amount
1. Please see filed Rule 29 Statement.
Total
Signature of Attorney/Self-Represented Plaintiff: X /s/ Sarah Milkovich | | Date: November 8, 2024

RELATED ACTIONS: Please provide the case number, case name, and county of any related actions pending in the Superior Court.

CERTIFICATION UNDER S.J.C. RULE 1:18(5)
| hereby certify that | have complied with requirements of Rule 5 of Supreme Judicial Court Rule 1:18: Uniform Rules on Dispute Resolution, requiring that | inform my clients about
court-connected dispute resolution services and discuss with them the advantages and disadvantages of the various methods of dispute resolution.

Signature of Attorney: X /s/ Sarah Milkovich | | Date: November 8, 2024

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Superior Court - Norfolk
Docket Number

CIVIL ACTION COVER SHEET INSTRUCTIONS —

SELECT A CATEGORY THAT BEST DESCRIBES YOUR CASE*

AC Actions Involving the State/Municipality ™ ER Equitable Remedies RP Real Property
AAI Contract Action involving Commonwealth, DO01 Specific Performance of a Contract (A) C01 Land Taking (F)
Municipality, MBTA, etc. (A) DO2 Reach and Apply (F) C02 Zoning Appeal, G.L. c. 40A (F)
AB1 Tortious Action involving Commonwealth, DO3 Injunction (F) C03 Dispute Conceming Title (F)
Municipality, MBTA, etc. (A) DO04 Reform/ Cancel Instrument (F) C04 Foreclosure of a Mortgage (X)
AC1 Real Property Action involving DO5 Equitable Replevin (F) C05 Condominium Lien & Charges (X)
Commonwealth, Municipality, MBTA etc. (A) D06 Contribution or Indemnification (F) C99 Other Real Property Action (F)
AD1 Equity Action involving Commonwealth, D07 Imposition of a Trust (A)
Municipality, MBTA, etc. (A) DOB Minority Shareholder’s Suit (A) MC Miscellaneous Civil Actions
AE1 Administrative Action involving DO interference in Contractual Relationship (F)
Commonwealth, Municipality, MBTA,etc. (A) B10 Accounting {A) E18 Foreign Discovery Proceeding (X)
D114 Enforcement of Restrictive Covenant (F) E97 Prisoner Habeas Corpus (X)
CN Contract/Business Cases D12 Dissolution of a Partnership (F) E22 Lottery Assignment, G.L.c. 10, § 28 (X)
D13 Declaratory Judgment, G.L.c. 231A (A)
AO1 Services, Labor, and Materials (F) 014 Dissolution of a Corporation (F) AB Abuse/Harassment Prevention
A02 Goods Sold and Delivered (F) D99 Other Equity Action (F)
A03 Commercial Paper (F) E15 Abuse Prevention Petition, G.L.c. 209A (X)
A04 Employment Contract (F) PA Givil Actions Involving Incarcerated Party + E21 Protection from Harassment, G.L. c. 258E(X)
AOS Consumer Revolving Credit-marc.p.s1  (F)
A0O6 Insurance Contract (F) PA‘ Contract Action involving an AA Administrative Civil Actions
A08 Sale or Lease of Real Estate (F) Incarcerated Party (A)
A12 Construction Dispute (A) PB1 Tortious Action involving an E02 Appeal from Administrative Agency,
A14 Interpleader (F) Incarcerated Party (A) G.L.c. 30A (X)
BA1 Governance, Conduct, internal PC1 Reai Property Action involving an E03 Certiorari Action, G.L. c. 249, § 4 (X)
Affairs of Entities {A) Incarcerated Party (F) E05 Confirmation of Arbitration Awards (X)
BAS Liability of Shareholders, Directors, PD1 Equity Action involving an E06 Mass Antitrust Act, G.L.c. 93,§ 9 (A)
Officers, Partners, etc. (A) Incarcerated Party (F) E07 Mass Antitrust Act, G.L.c. 93, § 8 (X)
BB1 Shareholder Derivative (A) PE1 Administrative Action involving an E08 Appointment of a Receiver (X)
BB2 Securities Transactions (A) Incarcerated Party (F) £09 Construction Surety Bond, G.L. c. 149,
BC1 Mergers, Consolidations, Sales of §§ 29, 29A {A)
Assets, Issuance of Debt, Equity, etc. (A) TR Torts E10 Summary Process Appeal (X)
BD1 Intellectual Property (A) E11 Worker's Compensation (X)
BD2 Proprietary Information or Trade BO3 Motor Vehicle Negligence - Personal E16 Auto Surcharge Appeal (X)
Secrets (A) Injury/Property Damage (F) E17 Civil Rights Act, G.L. ¢.12, § 11H (A)
BG1 Financial Institutions/Funds {A) B04 Other Negligence - Personal E24 Appeal from District Court
BH1 Violation of Antitrust or Trade Injury/Property Damage (F) Commitment, G.L. ¢.123, § 9(b) (X)
Regulation Laws (A) BO5 Products Liability (A) E94 Forfeiture, G.L. c. 265, § 56 (X)
A99 Other Contract/Business Action - Specify (F) BO6 Maipractice - Medical (A) E95 Forfeiture, G.L. c. 94C, § 47 (F)
BO7 Malpractice - Other (A) E99 Other Administrative Action (X)
* See Superior Court Standing Order 1-88 for an BO8 Wrongful Death - Non-medical {A) 201 Medical Malpractice - Tribunal only,
explanation of the tracking deadlines for each track Bi5 Defamation (A) G.L. c. 231, § 608 (F)
designation: F, A, and X. On this page, the track B19 Asbestos (A) 202 Appeal Bond Denial (x)
designation for each case type is noted in B20 Personal Injury - Slip & Fall (F)
parentheses. B21 Environmental (F) SO Sex Offender Review
B22 Employment Discrimination {F)
t* Choose this case type if ANY party is the BE1 Fraud, Business Torts, etc. (A) E12 SDP Commitment, G.L.c.123A,§ 12 = (X)
Commonwealth, a municipality, the MBTA, or any B99 Other Tortious Action (F) E14 SDP Petition, G.L. c. 123A, § 9(b) (X)

other governmental entity UNLESS your case is a
case type listed under Administrative Civil Actions
(AA).

RP Summary Process (Real Property)

RC Restricted Civil Actions

$01 Summary Process - Residential (X) E19 Sex Offender Registry, G.L.c. 6, § 178M (X)
+ Choose this case type if ANY party is an $02 Summary Process - Commercial/ E27 Minor Seeking Consent, G.L.¢.112, § 12S(X)
incarcerated party, UNLESS your case is a case Non-residential (F)

type listed under Administrative Civil Actions (AA)

or is a Prisoner Habeas Corpus case (E97). TRANSFER YOUR SELECTION TO THE FACE SHEET

EXAMPLE:
CODE NO. TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
BO3 Motor Vehicle Negligence-Personal Injury FL. xX YES CJ NO

STATEMENT OF DAMAGES REQUIRED BY G.L. c. 212, § 3A

DUTY OF THE PLAINTIFF — On the face of the Civil Action Cover Sheet (or on attached additional sheets, if necessary), the plaintiff shall
state the facts on which the plaintiff relies to determine money damages. A copy of the completed Civil Action Cover Sheet, including the
statement concerning damages, shall be served with the complaint. A clerk-magistrate shall not accept for filing a complaint, except as
otherwise provided by law, unless it is accompanied by such a statement signed by the attorney or self-represented litigant.

DUTY OF THE DEFENDANT — If the defendant believes that the statement of damages filed by the plaintiff is inadequate, the defendant may
file with the defendant's answer a statement specifying the potential damages which may result if the plaintiff prevails.

A CIVIL ACTION COVER SHEET MUST BE FILED WITH EACH COMPLAINT.
IF THIS COVER SHEET IS NOT FILLED OUT THOROUGHLY AND
ACCURATELY, THE CASE MAY BE DISMISSED.

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Superior Court - Norfolk

Docket Number

Docketed 11/08/2024 3

COMMONWEALTH OF MASSACHUSETTS

NORFOLK, ss. SUPERIOR COURT DEPARTMENT OF
THE TRIAL COURT

JAMES WINES,
Plaintiff,
Civil Action No. 2482CV01098

V.

PRESIDENT & FELLOWS OF HARVARD
COLLEGE d/b/a HARVARD MEDICAL SCHOOL

Defendant.

PLAINTIFF’S STATEMENT PURSUANT TO RULE 29

NOW COME the plaintiff, James D. Wines, Jr., M.D., M.P.H., in the above-entitled action
and hereby states that as a direct and proximate result of the defendant’s breaches of contract;
breaches of the implied covenant of good faith & fair dealing negligence; civil conspiracy; and
violations of the United States Constitution, the Massachusetts Constitution, G.L. c. 12, §§ 11H—
11J, 42 U.S.C. § 2000bb-1, and G.L. c. 93A, §§ 2, 11, Dr. Wines was caused to suffer financial,
emotional, and reputational harms.

Specifically, Dr. Wines alleges that Defendant President & Fellows of Harvard College,
doing business as its Harvard Medical School (“Defendant,” “Harvard,” or “HMS”), wrongfully
and discriminatorily deprived Dr. Wines of his earned academic appointment to the HMS faculty
as an Instructor of Psychiatry. Dr. Wines alleges that he was terminated by HMS on or around

November 10, 2021, without cause, without notice, and as a result of discriminatory action taken
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Docket Number

against Dr. Wines because of his sincerely held religious beliefs and medical conditions. Dr.
Wines alleges that as a direct and proximate result of HMS’s wrongful, discriminatory removal of
Dr. Wines’s academic appointment, Dr. Wines has suffered lost wages; lost benefits; costs related
to survival without income from work; stress to Dr. Wines and his family; reputation harms; and
the loss of potential future research, publication, grant, employment, and other professional
opportunities.

In the event of recovery, the plaintiff believes, and therefore avers that recovery will be in
excess of Fifty Thousand ($50,000.00) Dollars.

The plaintiff reserves the right to introduce further evidence at the time of trial.

Respectfully submitted,
James D. Wines, Jr., M.D., M.P.H.,

By his Attorneys

Dated: November 8, 2024 /s/ Sarah M. Milkovich
Sarah M. Milkovich (BBO No. 705661)

Douglas S. Brooks (BBO No. 636697)

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Docket Number 2482CV01098 Docketed 01/29/2025

COMMONWEALTH OF MASSACHUSETTS

Trial Court Department

Norfolk, ss.
No. 2482CV01098

JAMES WINES,
Plaintiff,

Vv.

PRESIDENT & FELLOWS OF
HARVARD COLLEGE d/b/a HARVARD
MEDICAL SCHOOL,

Defendant.

NOTICE OF FILING NOTICE OF REMOVAL

Pursuant to 28 U.S.C. § 1446(d), Defendant President and Fellows of Harvard
College (“Harvard”)! files a copy of its Notice of Removal, attached as Exhibit 1, which
Harvard has filed, today, in the U.S. District Court for the District of Massachusetts.
The filing of this Notice causes removal of this civil action and precludes this Court

from proceeding further unless and until this action were to be remanded.

1“President and Fellows of Harvard College” is the proper name of the legal entity
comprising Harvard University.
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Superior Court - Norfolk
Docket Number 2482CV01098

Dated: January 27, 2025

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Respectfully submitted,

PRESIDENT AND FELLOWS OF
HARVARD COLLEGE

By its attorneys,

/s/ William Fick

William Fick (BBO #650562)
Daniel N. Marx (BBO#674523)
Amy Barsky (BBO #601111)
FICK & MARX LLP

24 Federal Street, 4th Floor
Boston, MA 02110

(857) 321-8360
dmarx@fickmarx.com
abarsky@fickmarx.com
wfick@fickmarx.com

CERTIFICATE OF SERVICE

I, hereby certify that on January 27, 2025, I caused the foregoing document to
be served by email and U.S. Mail upon counsel for the Plaintiff.

/s/ Willtam Fick
William Fick

t attest that this document Is a
certified protocopy of an
original on file.

— Wsol@S
“Deputy Assistant Clerk
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Superior Court - Norfolk
Docket Number 2482CV01098

Exhibit 1
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

JAMES WINES
Plaintiff,

v. No. 25-cv-10203

PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,

Defendant.

NOTICE OF REMOVAL

Pursuant to 28 U.S.C. § 1441(a), Defendant President and Fellows of Harvard
College! (“Harvard”) removes the civil action that Plaintiff James Wines has filed in
state court, James Wines v. President and Fellows of Harvard College d/b/a Harvard
Medical School, No. 2482CV01098 (Norfolk Super. Ct.), to this Court.

As grounds for removal, Harvard states as follows:

1. On November 8, 2024, Wines filed a civil action against Harvard in the
Norfolk Superior Court (“the State Case”), alleging violations of the Religious
Freedom Restoration Act (“RFRA”) (Count VII), the First, Fourth, and Fourteenth
Amendments to the United States Constitution (Counts IV-VII), and various state
law claims. See Complaint, attached as Ex. A.

2. Removal of the State Case is proper because, pursuant to 28 U.S.C.

§ 1331, this Court has federal question jurisdiction: according to the allegations in

1 “President and Fellows of Harvard College” is the proper name of the legal
entity comprising Harvard University.
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Wines’ complaint, Harvard violated the RFRA and the U.S. Constitution (Counts
IV-VII]). This Court has supplemental jurisdiction over the state law claims under
28 U.S.C. § 1367.

3. Removal of the State Case is timely because Wines served the
summons and complaint on Harvard on January 7, 2025. See Summons and
Superior Court Civil Action Cover Sheet, attached as Ex. B.

4. Harvard will promptly file a copy of this Notice of Removal with the
Clerk of the Norfolk Superior Court. Pursuant to 28 U.S.C. § 1446(d), that filing will
automatically cause the removal of the State Case to this Court, in its entirety and

for all future proceedings.
Respectfully submitted,

PRESIDENT AND FELLOWS OF
HARVARD COLLEGE

By its attorneys,

/s/ William Fick

William Fick (BBO #650562)
Daniel N. Marx (BBO#674523)
Amy Barsky (BBO #601111)
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wfick@fickmarx.com

Dated: January 27, 2025
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CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF), and that I have caused a copy to be served on Plaintiffs counsel by
U.S. Mail and email, on January 27, 2025.

/s/ William Fick
William Fick

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Exhibit A
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Docketed 11/08/2024

COMMONWEALTH OF MASSACHUSETTS

NORFOLK, ss. SUPERIOR COURT DEPARTMENT OF
THE TRIAL COURT
)
)
JAMES WINES,
Plaintiff,
y. Civil Action No. 2482CV01098

PRESIDENT & FELLOWS OF HARVARD
COLLEGE d/b/a HARVARD MEDICAL SCHOOL )
Defendant.
)
)

COMPLAINT AND JURY DEMAND

PARTIES

I. Plaintiff James D. Wines, Jr., M.D., M.P.H., resides in Quincy, Norfolk County,
Massachusetts.

2. The President and Fellows of Harvard College is a nonprofit corporation
established under the laws and Constitution of the Commonwealth of Massachusetts that
operates its Harvard Medical School (“Defendant,” “Harvard,” or “HMS”). Harvard’s principal
location is in Cambridge, Middlesex County, Massachusetts.

FACTS

3. HMS faculty appointments are among the most prestigious academic credentials

in the medical field. The appointment process is incredibly competitive and rigorous.

Candidates for the Instructor position are expected to demonstrate academic excellence, the
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recommendations of respected colleagues in medicine, scholarly achievements such as
successful publications, the potential for obtaining research funding, and a commitment to
teaching and mentoring Harvard students. Before being appointed to the Instructor position, a
candidate must face multiple rounds of review—by HMS Department Heads and Harvard’s
Office for Faculty A ffairs—and be selected out of a collection of peers.

4. Once someone has been appointed as an HMS Instructor, he or she is a Harvard
faculty member with rights and benefits. An Instructor has a constitutionally protected interest
in his or her earned academic appointment. This protected interest is akin to the protected
interests doctors hold in their medical licenses, university graduates hold in their degrees, and
students hold in their university enrollment.

5. An HMS Instructor appointment confers substantial financial and professional
benefits on the doctor who achieves the credential, all of which are compensation for his or her
contributions to the university. In addition to the earned prestige that comes with the
appointment, Instructors also enjoy more research, grant, and publication opportunities than their
peers. Perhaps the most significant financial value of the HMS Instructor appointment is its
direct impact on a doctor’s future earning potential. HMS Instructors are highly sought after by
hospitals across the United States. Instructors are more likely to receive clinical or research
employment positions than their peers. Further, as a result of their academic appointment,
Instructors are more likely to receive prestigious positions at top hospitals that provide more
lucrative compensation. That is, HMS Instructors receive many more and meaningfully better
opportunities for professional career development than doctors who have not earned the
appointment. For these reasons, academic appointments to the HMS faculty are more important

and valuable for doctors’ professional careers than any particular employment role.
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6. In 1989, Dr. Wines became an Intern in Medicine at Massachusetts General
Hospital. In 1990, he earned a Clinical Fellowship in Psychiatry from HMS. In 1993, Dr. Wines
earned an academic appointment in HMS’s Faculty of Medicine as an HMS Instructor of
Psychiatry. Dr. Wines held this HMS academic appointment for nearly thirty years.

7. Approximately every two or three years, HMS would renew Dr. Wines’s
appointment as Instructor. At least one colleague familiar with HMS’s faculty appointment
process communicated to Dr. Wines that, given his extensive expertise, mentorship, and research
contributions in psychiatry and psychopharmacology, HMS would likely promote him to the
higher appointment of Assistant Professor in Psychiatry if he was interested in seeking that role.
All of Dr. Wines’s interactions with HMS faculty members supported his reasonable and well-
founded expectation that his faculty appointment would continue to be renewed (and even
promoted) throughout the course of his career. Dr. Wines had intended to remain a Harvard
faculty member for the entirety of his career, and to potentially seek promotion to the role of
Assistant Professor.

8. Throughout his time as an HMS faculty member, Dr. Wines’s relationship with
HMS was governed by the HMS Faculty of Medicine Handbook (the “HMS Handbook”), which

includes by reference a Non-Discrimination Policy.

' The version of the HMS Faculty of Medicine Handbook that is currently in effect is available
online at https://facultyhandbook.hms.harvard.edu/. Upon information and belief, an earlier
version of the HMS Handbook (of which Harvard presumably has custody) had been in effect in
1989, at the time when Dr. Wines was initially appointed as an HMS Instructor. Upon
information and belief, yet another version of the HMS Handbook was in effect at the time when
Dr. Wines’s faculty appointment had most recently been renewed.

The current version of the Harvard University Non-Discrimination Policy is available online at
https://provost.harvard.edu/files/provost/files/non-discrimination_and_anti-bullying policies.pdf.

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9, On or around November 10, 2021, Dr. Wines discovered that his academic
appointment as an HMS Instructor was involuntarily terminated, without notice or cause. Dr.
Wines only discovered this adverse action because he happened to call into the Harvard
Registrar’s Office in or around the week when HMS had terminated his appointment. It does not
appear that anyone at Harvard would have even informed Dr. Wines that his appointment had
been terminated, had Dr. Wines himself not reached out himself and stumbled upon that
information.

10. | Upon information and belief, it is incredibly rare for Instructors to involuntarily
lose their academic appointments at HMS. Instead, virtually all Instructors maintain their
appointments unless and until they decide to retire, move to another university, or seek
promotion to a higher HMS faculty position. Section 4.5 of the HMS Handbook explicitly states
that faculty members like Instructors “may be reappointed at any rank indefinitely.” In fact,
throughout his nearly thirty years as an HMS faculty member, Dr. Wines never learned of any
HMS faculty member being involuntarily terminated, until he discovered his own termination in
November 2021.

11. Upon information and belief, based on the timing of Harvard’s involuntarily
termination of Dr. Wines’s faculty appointment, that termination was based wholly, or in large
part, on Harvard-affiliate Mass General Brigham’s wrongful, discriminatory treatment of Dr.
Wines.

12. On June 24, 2021, Mass General Brigham’s President and CEO, Ann Klibanski,
announced that all employees would be required to receive one of three COVID-19 vaccines,
with the exception of employees who were granted exemptions for “medical and religious

reasons.”
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13. On or about September 2, 2021, Dr. Wines timely submitted both a Medical
Exemption Request and a Religious Exemption Request (together, the “Exemption Requests’) to
Mass General Brigham, seeking reasonable accommodations under the Americans with
Disabilities Act (“ADA”) and Title VII of the Civil Rights Act. Dr. Wines’s Exemption
Requests explained that (a) the COVID-19 vaccines posed significant medical contraindications
for his health; and (b) his sincerely held religious beliefs rendered the vaccines morally
repugnant, including because all COVID-19 vaccines available at that time utilized aborted fetal
tissue in their design, testing, and/or production.

14. Mass General Brigham denied Dr. Wines’s Medical Exemption Request on
September 17, 2021. The hospital system then denied Dr. Wines’s Religious Exemption Request
on September 23, 2021. These denials contained virtually no discussion, other than to state that
the Exemption Requests were not “sufficient” and that there was “no appeal process.” Mass
General Brigham did not engage in any meaningful discussion or exemption review process, nor
did it disclose information about the evaluation criteria, review process, or identity or
qualification of the decisionmakers involved in denying Dr. Wines’s Exemption Requests. Upon
information and belief, Mass General Brigham had predetermined that it would deny most or all
medical and religious exemption requests.

15. Mass General Brigham involuntarily terminated Dr. Wines’s employment on
November 10, 2021, because of his inability to receive a COVID-19 vaccination for medical and
religious reasons. This adverse treatment by Mass General Brigham violated Dr. Wines’s
constitutional rights to equal protection, substantive due process, procedural due process, and
free exercise of religion. Mass General Brigham’s wrongful termination of Dr. Wines also

violated the ADA and Title VII of the Civil Rights Act.
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16. | Upon information and belief, at or around the same time when Mass General
Brigham illegally terminated Dr. Wines’s employment, HMS involuntarily terminated his
academic appointment as an HMS Instructor of Psychiatry. Upon information and belief, the
sole basis for Harvard’s decision to deprive Dr. Wines of his academic appointment was the fact
that Mass General Brigham had separately terminated Dr. Wines’s employment. Dr. Wines
received no notice or warning of any sort from HMS that he may be stripped of his academic
appointment. HMS provided Dr. Wines no process before terminating his appointment; he was
not given the opportunity to be heard, submit a request for religious or medical exemption
requests, or appeal the adverse decision. HMS’s involuntary termination of Dr. Wines’s faculty
appointment was completely devoid of procedural due process. Because, upon information and
belief, HMS based its termination decision on Mass General Brigham’s decisionmaking, HMS’s
adverse decision was tainted by the same religious, medical, and academic viewpoint
discrimination underlying Mass General Brigham’s wrongful termination. The fact that HMS
may have “outsourced” its termination decisionmaking to another party does not immunize HMS
from liability for the wrongfulness or discriminatory nature of the termination.

17. Dr. Wines never voluntarily terminated either his employment at Mass General
Brigham or his academic appointment at HMS.

18. Harvard’s involuntary termination of Dr. Wines’s academic appointment violated
the contractual obligations established in the HMS Handbook in multiple respects.

19. Section 4.6 of the HMS Handbook, titled “Termination Documentation and
Lengths of Notice,” provides that faculty members like Instructors should receive “written notice
of the .. . loss of the Harvard appointment if the termination is to occur prior to the conclusion of

the designated term. The expected period of notice would be: ... Instructors . . . three (3)
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months... .” In violation of Section 4.6, HMS provided Dr. Wines no notice—written or
verbal—that his faculty appointment was being involuntarily terminated. Instead, Dr. Wines had
to reach out to HMS to discover that that adverse action was imposed without his knowledge.
Upon information and belief, HMS’s involuntary termination took place before the conclusion of

the designated term for Dr. Wines’s Instructor appointment.

20. Section 3.2 of the HMS Handbook is titled “Academic Freedom: Rights and

Responsibilities for All Faculty.” Section 3.2 states:

Harvard University has promulgated statements regarding rights, responsibilities,
and community values, which govern our activities. In keeping with the
traditional concepts of academic freedom, faculty cannot be dismissed for holding
controversial opinions, for proposing heretical viewpoints, or for espousing
unpopular causes. They are all entitled to the classical protection of the academy
in the pursuit of knowledge, in their teaching, and in the publication of findings
and opinions.

In violation of Section 3.2, Dr. Wines, an HMS faculty member was “dismissed for holding
controversial opinions, for proposing heretical viewpoints, or for espousing unpopular causes.”
Specifically, Dr. Wines’s termination from the HMS faculty was premised on Mass General
Brigham’s decisionmaking, which was in turn premised on viewpoint discrimination against Dr.
Wines’s controversial minority viewpoint related to COVID-19 vaccines.

21. Section 3.3 of the HMS Handbook is titled “Non-Discrimination and Non-

Bullying.” Section 3.3 states:

It is the strong and consistent policy of Harvard University, Harvard Medical
School, and Harvard School of Dental Medicine, to treat all members of the
communities with respect, to provide an environment conducive to learning and
working, and to ensure equal access to rights, privileges and opportunities without
regard to race, color, religion, sex, national origin, disability status, protected
veteran status, gender identity, sexual orientation, pregnancy and pregnancy-
related conditions or any other characteristic protected by law or deemed by
Harvard to warrant equal rights protection under applicable policies.
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HMS violated its contractual obligations under Section 3.3 by terminating Dr. Wines’s faculty
appointment on the basis of Mass General Brigham’s decision, which was in turn premised on
discrimination against Dr. Wines because of his religious beliefs, disability status, creed,” and
political beliefs.’
22. Section 3.3 also incorporates by reference the Harvard University Non-
Discrimination Policy, which states:
Discrimination on the basis of the following protected categories, or any other
legally protected basis, is unlawful and is prohibited by this Policy[:]... religion .
.. creed ... disability . . . political beliefs .... Discrimination is adverse
treatment of an individual based on one or more of the protected characteristics
listed in this Policy. In a university setting, complaints of discrimination may
arise in the employment context and the education context, in the following
potential forms: ... Terminating, suspending, dismissing, or expelling an
individual based on their protected characteristic.
HMS violated Section 3.3 by terminating Dr. Wines on the basis of Mass General Brigham’s
decision, which was in turn based on discrimination against Dr. Wines because of his religious
beliefs, disability status, creed, and political beliefs.
23. Upon information and belief, if Dr. Wines had received a COVID-19
vaccination—despite his medical contraindications and sincerely held religious objections
against doing so—HMS would not have terminated Dr. Wines’s faculty appointment, and Dr.

Wines would still hold an HMS faulty appointment to this day. Similarly, even after Dr. Wines’s

HMS appointment was terminated, if he had then given into pressure to receive a COVID-19

* Creed is “deemed by Harvard to warrant equal rights protection under applicable policies,”
specifically, under the Harvard University Non-Discrimination Policy. See Compl. § 22.

> Political beliefs are “deemed by Harvard to warrant equal rights protection under applicable
policies,” specifically, under the Harvard University Non-Discrimination Policy. See Compl. §
22.
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vaccination, upon information and belief, HMS would have reinstated Dr. Wines’s faculty
appointment.

24. | HMS has caused Dr. Wines significant harm by wrongfully stripping him of his
earned academic appointment as an HMS Instructor. Since being involuntarily terminated by
HMS, and as a direct result of that termination, Dr. Wines has lost out on potential research,
publication, grant, employment, and other professional opportunities. HMS’s wrongful
termination has also caused lost wages, lost benefits, costs related to survival without income
from work, and stress to Dr. Wines and his family. The loss of his academic appointment has
also harmed Dr. Wines’s reputation and his ability to obtain future academic and professional
opportunities. To be clear, even though non-party Mass General Brigham chose to wrongfully
terminate Dr. Wines’s employment, Dr. Wines’s academic appointment as an HMS Instructor
would have made him a very desirable candidate for prestigious, lucrative professional
opportunities. That is, Dr. Wines suffered additional losses that he would not have suffered but
for HMS’s decision to wrongfully terminate his academic appointment. HMS is therefore
directly responsible for causing Dr. Wines financial, emotional, and reputational harms.

25. Harvard—like its affiliate Mass General Brigham—was effectively a state actor
with respect to the conduct at issue. Upon information and belief, Harvard and Mass General
Brigham were subjected to coercion by State and Federal governments to enact mandatory
COVID-19 vaccination requirements so that they would not lose any governmental funding,
which is a key component of and essential to the functioning of Harvard and Mass General
Brigham. Like Mass General Brigham, Harvard announced on or about July 8, 2021, that it
would require all faculty members to receive COVID-19 vaccinations. Upon information and

belief, Harvard and Mass General Brigham received incentives from the government for
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implementing and maintaining COVID-19 related mandates. These government inducements
include, but are not limited to the Centers for Medicare & Medicaid Services (hereinafter,
“CMS”), the Federal Emergency Management Agency (hereinafter, “FEMA”), the Coronavirus
Aid, Relief, and Economic Security Act (hereinafter, “CARES”), National Institutes of Health
(hereinafter, “NIH”), etc. State and Federal governments caused private entities, including
Harvard and Mass General Brigham, to enact and regulate COVID-19 policies and mandates for
purposes deemed by such governments to be necessary, resulting in the private entities doing the
bidding of the government. Essentially, Harvard, like Mass General Brigham, was caused to
take on a state/public function to implement, mandate and regulate policies to deal with COVID-

19.

CLAIMS FOR RELIEF

COUNT I - BREACH OF CONTRACT.

26. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

27. | The HMS Handbook (including the Harvard University Non-Discrimination
Policy it incorporates by reference) is a binding contract between Harvard and its faculty
members. Dr. Wines was an HMS faculty member until HMS wrongfully terminated his
appointment in or around November 2021.

28. HMS materially breached the HMS Handbook by involuntarily terminating Dr.
Wines’s faculty appointment without cause and without notice. See HMS Handbook § 4.6.

29.  HMS also materially breached the HMS Handbook and Harvard University Non-

Discrimination Policy by involuntarily terminating Dr. Wines’s faculty appointment on the basis

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of his religious beliefs, disability status, creed, and political beliefs. See HMS Handbook §§ 3.2,
3.3.

30. Dr. Wines has been harmed by these breaches.

31. Dr. Wines is entitled to damages as a result of these breaches.

COUNT Il— BREACH OF THE IMPLIED COVENANT OF
GOOD FAITH & FAIR DEALING

32. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

33. The HMS Handbook (including the Harvard University Non-Discrimination
Policy it incorporates by reference) is an enforceable contract that contains a covenant of good
faith and fair dealing.

34. By virtue of the acts described above, HMS breached this covenant.

35. | The HMS Handbook explicitly states that faculty members have rights to
academic freedom and freedom from discrimination. See HMS Handbook §§ 3.2, 3.3. The
HMS Handbook further provides that faculty members may not be terminated on the basis of
religious beliefs, disability status, creed, political beliefs, or controversial academic perspectives.
See id. To the extent that the HMS Handbook does not explicitly state whether termination may
be based on a third party’s discrimination towards an HMS faculty member, the implied
covenant would operate to prohibit HMS from taking any adverse action against a faculty
member on the basis of such third-party discrimination. HMS’s decision to involuntarily
terminate Dr. Wines’s faculty appointment, on the basis of another entity’s discriminatory action
towards him, effectively destroyed Dr. Wines’s right to receive the fruit of his agreement with

HMS.

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36. Dr. Wines has been harmed by HMS’s breach of the implied covenant of good
faith and fair dealing.
37. Dr. Wines is entitled to damages as a result of this breach.

COUNT Ill — VIOLATION OF THE MASSACHUSETTS CIVIL RIGHTS ACT

38. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

39. Dr. Wines has the right to procedural due process, substantive due process, equal
protection, and to free exercise of religion, as guaranteed to him by the United States
Constitution and Massachusetts Constitution.

40. HMS interfered with, or attempted to interfere with, Dr. Wines’s exercise or
enjoyment of those constitutional rights.

4]. HMS used threats, intimidation, and coercion to interfere, or attempt to interfere,
with Dr. Wines’s constitutional rights by, among other things, improperly stripping away an
earned academic appointment Dr. Wines had held for nearly thirty years, harming Dr. Wines’s
reputation and ability to obtain employment and academic roles in the medical field, and
committing this harm as a manner of attempting to compel Dr. Wines to receive a COVID-19
vaccination despite his sincerely held religious beliefs against the COVID-19 vaccines.

42. Upon information and belief, Dr. Wines’s termination was intended to (a) deter
him from exercising his sincerely held religious beliefs; (b) compel him to act in a manner
repugnant to his religious beliefs; and (c) apply moral force against him in an attempt to
constrain him into receiving, against his will, a medical intervention that was contradictory to his

religious beliefs.

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43. Because of HMS’s conduct and inactions as aforementioned, HMS violated the
Massachusetts Civil Rights Act, G.L. c. 12, §§ 11H—11J.

44. Dr. Wines has been harmed by HMS’s violation of the Massachusetts Civil Rights
Act.

45. Dr. Wines is entitled to damages as a result of this violation.

COUNT IV — VIOLATION OF PLAINTIFF’S
PROCEDURAL DUE PROCESS RIGHTS

46. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

47. The actions of HMS denied Dr. Wines his right to Due Process of Law as
guaranteed to him by the United States Constitution and Massachusetts Declaration of Rights.

48. | HMS deprived Dr. Wines of his constitutionally protected interest (an earned
academic appointment as an HMS Instructor of Psychiatry) without notice; an opportunity for
Dr. Wines to be heard; or any proceeding during which Dr. Wines could hear any evidence
against him, respond to it directly himself, or call witnesses.

49. | HMS was a state actor and/or instrumentality of the government for purposes of
the conduct at issue.

50. Because of HMS’s conduct and inactions as aforementioned, Dr. Wines’s
procedural due process rights were denied and violated.

51. Dr. Wines has been harmed by HMS’s violation of his constitutional rights.

52. Dr. Wines is entitled to damages as a result of these violations.

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COUNT V— VIOLATION OF PLAINTIFE’S
SUBSTANTIVE DUE PROCESS RIGHTS

53. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

54. Dr. Wines has the right and protected interest under the First, Fourth and
Fourteenth Amendment to the United States Constitution and Articles IV, X, XX, XXI, XXIX,
and XXX of the Massachusetts Declaration of Rights to be free from the invasion of bodily
integrity and to be free from unwanted medical intervention.

55. Because of these rights enjoyed by Dr. Wines under both the United States
Constitution and the Massachusetts Declaration of Rights, his substantive due process rights
were denied when HMS terminated his faculty appointment because of consequences Dr. Wines
faced as a direct result of his inability to receive a COVID-19 vaccinations on the basis of his
medical contraindications and sincerely held religious beliefs. To the extent that Mass Brigham
General was the party to originally violate Dr. Wines’s substantive due process rights, HMS
ratified and adopted Mass General Brigham’s constitutional violation when it also chose to strip
Dr. Wines of his faculty appointment.

56. HMS was a state actor and/or instrumentality of the government for purposes of
the conduct at issue.

57. Because of HMS’s conduct and inactions as aforementioned, Dr. Wines’s
substantive due process rights were denied and violated.

58. Dr. Wines has been harmed by HMS’s violation of his constitutional rights.

59. Dr. Wines is entitled to damages as a result of these violations.

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COUNT VI — VIOLATION OF PLAINTIFEF’S
EQUAL PROTECTION & TREATMENT RIGHTS

60. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

61. The actions of HMS denied Dr. Wines his right to Equal Protection and equal
treatment as guaranteed to him by the United States Constitution and Massachusetts
Constitution.

62. | HMS singled out Dr. Wines for selective treatment based upon his sincerely held
religious objections to the COVID-19 vaccines. To the extent that Mass Brigham General was
the party to originally single out Dr. Wines for adverse treatment because of his religious beliefs,
HMS ratified and adopted Mass General Brigham’s discriminatory treatment when HMS also
chose to strip Dr. Wines of his faculty appointment.

63. In effect, HMS discriminated between religion and nonreligion by allowing those
without religious objections to the COVID-19 vaccines to continue on as faculty members,
although Dr. Wines was similarly situated with respect to expertise, mentorship contributions,
and research contributions.

64. Pursuant to the Fourteenth Amendment to the United States Constitution, and the
Massachusetts Constitution, Dr. Wines is guaranteed the right to equal protection and due
process of laws.

65. Dr. Wines had a right to be treated equally with HMS faculty members who are
nonreligious or have different religious beliefs.

66. Dr. Wines had no adequate remedy at law to protect him against the continuing

deprivation of his most cherished constitutional liberties and his sincerely held religious beliefs.

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67. Dr. Wines was treated differently than other HMS faculty members who had no
religious objection to the COVID-19 vaccines. HMS involuntarily terminated Dr. Wines’s
faculty appointment because his sincerely held religious beliefs were not accommodated and
Mass General Brigham wrongfully terminated his employment. To the extent that Mass
Brigham General was the party to originally violate Dr. Wines’s equal protection rights, HMS
ratified and adopted Mass General Brigham’s constitutional violation when HMS also chose to
strip Dr. Wines of his faculty appointment.

68. | HMS was a state actor and/or instrumentality of the government for purposes of
the conduct at issue.

69. | HMS has deprived Dr. Wines of the equal protection of the laws under United
States Constitution and Massachusetts Constitution by terminating his faculty appointment on
the basis of religious discrimination against him.

70. Dr. Wines has been harmed by HMS’s violation of his constitutional rights.

71. Dr. Wines is entitled to damages as a result of these violations.

COUNT VII — VIOLATION OF THE FREE EXERCISE CLAUSE OF THE UNITED
STATES CONSTITUTION & MASSACHUSETTS CONSTITUTION

72. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

73. The Free Exercise Clause of the First Amendment to the Unites States
Constitution, as applied to the states by the Fourteenth Amendment, prohibits the State from
abridging Dr. Wines’s right to free exercise of religion.

74. The religion clauses in the First Amendment of the United States Constitution
states: “Congress shall make no law respecting an establishment of religion, or prohibiting the

free exercise thereof.” U.S. Const., amend. I.

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75. Similarly, the Massachusetts Constitution provides that “No law shall be passed
prohibiting the free exercise of religion.” Mass. Const. Art. XVIII § 1.

76. By terminating Dr. Wines’s faculty appointment because he exercised his sincere
religious beliefs in the course of his employment with a third party, HMS violated Dr. Wines’s
fundamental rights, under the United States Constitution and Massachusetts Constitution, to the
free exercise of religion.

77. To the extent that Mass Brigham General was the party to originally violate Dr.
Wines’s rights to free exercise of religion, HMS ratified and adopted Mass General Brigham’s
constitutional violation when HMS also chose to strip Dr. Wines of his faculty appointment.

78. HMS was a state actor and/or instrumentality of the government for purposes of
the conduct at issue.

79. Because of HMS’s conduct and inactions as aforementioned, HMS denied and
violated Dr. Wines’s constitutional rights to free exercise of religion.

80. Dr. Wines has been harmed by HMS’s violation of his constitutional rights.

81. Dr. Wines is entitled to damages as a result of these violations.

COUNT VUI — VIOLATION OF 42 U.S.C. § 2000bb-1

82. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

83. HMS violated 42 U.S.C. § 2000bb-1 by substantially burdening Dr. Wines’s
exercise of religion, while HMS was effectively an instrumentality of the federal government.

84. Specifically, HMS terminated Dr. Wines’s faculty appointment because he

exercised his sincere religious beliefs in the course of his employment with a third party.

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85. Because of HMS’s conduct and inactions as aforementioned, HMS violated 42
U.S.C. § 2000bb-1.

86. Dr. Wines has been harmed by HMS’s violation of 42 U.S.C. § 2000bb-1.

87. Dr. Wines is entitled to damages as a result of HMS’s violations.

COUNT IX — CIVIL CONSPIRACY

88. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

89. Upon information and belief, HMS had a common plan with Mass General
Brigham to identify individuals who were both HMS faculty members and Mass General
Brigham employees; require them to receive COVID-19 vaccinations; and wrongfully subject
them to adverse, discriminatory treatment if they would not receive COVID-19 vaccinations.

90. | Both HMS and Mass General Brigham took affirmative steps toward the
achievement of that shared purpose. Mass General Brigham denied Dr. Wines’s Exemption
Requests and terminated his employment. Upon information and belief, HMS must have been in
communication with Mass General Brigham about Dr. Wines’s religious objections to and
medical contraindications for COVID-19 vaccines because at or around the same time Mass
General Brigham terminated Dr. Wines’s employment, HMS took the further step of terminating
Dr. Wines’s faculty appointment.

91. | Because of HMS’s concerted action with Mass General Brigham to commit
wrongful conduct, HMS is liable for civil conspiracy.

92. Dr. Wines has been harmed by HMS’s civil conspiracy.

93. Dr. Wines is entitled to damages as a result of HMS’s civil conspiracy.

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COUNT X — VIOLATION OF G.L. c. 93A, §§ 2 AND 11

94. Dr. Wines realleges and incorporates herein the allegations contained within the
foregoing paragraphs of this Complaint.

95. | Dr. Wines and HMS are both engaged in trade and commerce.

96. Dr. Wines’s interactions with HMS occurred in a business context, including
because professional motivations and research funding were primary aspects of the parties’
dealings.

97. HMS engaged in unfair and deceptive acts by, among other things:

i. Wrongfully stripping Dr. Wines of his earned academic appointment on
the basis of discriminatory reasoning;

li. Concealing from Dr. Wines that he had been deprived of his academic
appointment;

iii. Upon information and belief, knowingly and willfully violating the
contractual rights conferred on Dr. Wines by the HMS Handbook;

iv. Unfairly and substantially injuring Dr. Wines’s reputation, professional
development, career opportunities, and future earning potential by making
the bad faith, discriminatory decision to deprive Dr. Wines of his earned
academic appointment;

v. Upon information and belief, coordinating with Dr. Wines’s then-
employer, Mass General Brigham, to immorally and unethically coerce
Dr. Wines into receiving an unwanted medical intervention, despite his

religious and medical objections to such medical intervention;

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vi. Retaliating against Dr. Wines in bad faith by terminating his earned
academic appointment on the basis of his religious beliefs, academic
viewpoints, political beliefs, and medical condition; and

vii. Oppressing Dr. Wines on the basis of his sincerely held religious beliefs.

98. | HMS’s unfair and deceptive acts and practices took place primarily and
substantially within Massachusetts.

99. Dr. Wines was harmed as a result of HMS’s unfair and deceptive acts and
practices.

100. Dr. Wines is entitled to damages as a result of these violations.

PRAYER FOR RELIEF

Dr. Wines prays that this Court:
A. Enter Judgment in Dr. Wines’s favor and against Defendant on all Counts;
B. Award Dr. Wines compensatory, general, and punitive damages;

Award Dr. Wines treble damages pursuant to G.L. c. 93A;

Award Dr. Wines his attorneys’ fees and costs;

9 9

E. Grant Dr. Wines equitable relief; and
F. Award Dr. Wines such other relief as the Court deems just.

DEMAND FOR JURY TRIAL

Dr. Wines hereby demands a trial by jury on all counts so triable.

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Respectfully submitted,
James D. Wines, Jr., M.D., M.P.H.,

By his Attorneys

Dated: November 8, 2024 /s/ Sarah M. Milkovich
Sarah M. Milkovich (BBO No. 705661)
Douglas S. Brooks (BBO No. 636697)
LIBBY HOOPES BROOKS & MULVEY, P.C.
260 Franklin Street
Boston, MA 02110
(617) 338-9300
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Exhibit B
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TORT - MOTOR VEHICLE TORT-CONTRACE "3.7
COMMONWEALTH OF MASSACHUSETTS He
NORFOLK, 5s. SUPERIOR COURT
CIVEL ACTION

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SO TY SHERIFF
Middlesex County

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Pasiden | & Jellows a Hcurr! Olea Defersdart(s) DATE OF SERVIC
B/E Hervorck whedioal Scho.

SUMMONS

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“Es the shove named Defendant

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You are hereby summoned and tequired to serve upon Ms rah Mil Coven ,

pleintif’s attomey, whose address is / rbhy thee Brobkes efiuly lef Lug Trankha dh Bastin, it 2H

an. answer to the complaiirr: which is herewith served upon you, within 20 days after service of this

SuImaions Upon you, exclusive of the day of service. Hyon fil ta do so, judginent by defanit will be taken

agatnst you for the relief demanded in the complameé You are also reqnired to file your answer to the

complaint in the office of the Clerk of this court at Dedham either before service tpon. the plaintiff's

attorney or within a teasonable time thereafier

Uniless otherwise provided by Rule 13(a), your aNSWer THst stake as a coumtetcdaim any claim
which you ray have apainst the plaintitf witich arises ont of the transaction or occurence that is the
stibject matter of the plaintiff's daim oryou will thereafter be barced frora making such claim in any ofner

action,
Wrirness, Michael D. Ricciuti, Esquire : wat the
day of : , in the year of our Lord two thousand and

Lp Clerk.
NOTES: NT

I. This sermons is issued pursuant to Rules 4 of the Massachusetts Rules of Civil Procedure,

2. When rnore than one defendant is involved, the names of all such defendants should appear in dhe caption.
Ha seperare suramans is used for each such defendant, each should be addressed to the particular defenckant

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DOCKET NUMBER Massachusetts Trial Court

Superior Court |

CIVIL ACTION COVER SHEET
a 2482CV01098
COUNTY Norfolk Superior Court (Dedham)

Plaintiff James D, Wines, Jr, M.D., M.P.H. Defendant: President & Fellows of Harvard College d/b/a Harvard

1 Medical School
ADDRESS: 7 Peterson Roa ADDRESS: 1033 Massachusetts Avenue, Suite 3
Quincy, MA 02168 Cambridge, MA 02138-5366
Plaintiff Attorney: Sarah Milkovich Defendant Attorney:
ADDRESS: 260 Franklin Street ADDRESS:
Boston, MA 02110
BBO: 705661 BBO:

TYPE OF ACTION AND TRACK DESIGNATION (see instructions section on next page)
CODE NO. TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
E17 Civil Rights Act, contract, and related claims. A YES CJ NO

*If "Other" please describe:
Is there a claim under G.L. c. 93A? Is there a class action under Mass. R. Civ. P. 23?

>] Yes  [] No [J Yes [Xx] No

The following is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiff's counsel relies to determine money damages.

(Note to plaintiff: for this form, do not state double or treble damages; indicate single damages only.)
TORT CLAIMS

A. Documented medical expenses to date

1. Total hospital expenses

2. Total doctor expenses

3. Total chiropractic expenses

4. Total physical therapy expenses
5. Total other expenses (describe below)

Subtotal (1-5): $0.00

B. Documented lost wages and compensation to date

C. Documented property damages to date

D. Reasonably anticipated future medical and hospital expenses

E. Reasonably anticipated lost wages

F. Other documented items of damages (describe below)

[Picase see filed Rule 29 Statement.

TOTAL (A-F): $0.00

G. Briefly describe plaintiff's injury, including the nature and extent of the injury:
[Please see filed Rule 29 Statement. |
CONTRACT CLAIMS

C] This action includes a claim involving collection of a debt incurred pursuant to a revolving credit agreement. Mass. R. Civ. P. 8.1(a).

ltern # Detailed Description of Each Claim Amount

1, Please see filed Rule 29 Statement.

Total

Signature of Attorney/Self-Represented Plaintiff: X /s/ Sarah Milkovich | | Date: November 8, 2024

RELATED ACTIONS: Please provide the case number, case name, and county of any related actions pending in the Superior Court.

CERTIFICATION UNDER S.J.C. RULE 1:18(5)
! hereby certify that | have complied with requirements of Rule 5 of Supreme Judicial Court Rule 1:18: Uniform Rules on Dispute Resolution, requiring that | inform my clients about
court-connected dispute resolution services and discuss with them the advantages and disadvantages of the various methods of dispute resolution.

| | Date: November 8, 2024

Signature of Attorney: X /s/ Sarah Milkovich

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COMMONWEALTH OF MASSACHUSETTS

NORFOLK, ss. SUPERIOR COURT DEPARTMENT OF
THE TRIAL COURT

)
)
JAMES WINES,
Plaintiff,

v. Civil Action No. 2482CV81098
PRESIDENT & FELLOWS OF HARVARD
COLLEGE d/b/a HARVARD MEDICAL SCHOOL )
Defendant.
)
)

PLAINTIFF’S STATEMENT PURSUANT TO RULE 29

NOW COME the plaintiff, James D. Wines, Jr., M.D., M.P.H., in the above-entitled action
and hereby states that as a direct and proximate result of the defendant’s breaches of contract;
breaches of the implied covenant of good faith & fair dealing negligence; civil conspiracy; and
violations of the United States Constitution, the Massachusetts Constitution, G.L. c. 12, §§ 11H—
11J, 42 U.S.C. § 2000bb-1, and G.L. c. 93A, §§ 2, 11, Dr. Wines was caused to suffer financial,
emotional, and reputational harms.

Specifically, Dr. Wines alleges that Defendant President & Fellows of Harvard College,
doing business as its Harvard Medical School (“Defendant,” “Harvard,” or “HMS”), wrongfully
and discriminatorily deprived Dr. Wines of his earned academic appointment to the HMS faculty
as an Instructor of Psychiatry. Dr. Wines alleges that he was terminated by HMS on or around

November 10, 2021, without cause, without notice, and as a result of discriminatory action taken
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against Dr. Wines because of his sincerely held religious beliefs and medical conditions. Dr.
Wines alleges that as a direct and proximate result of HMS’s wrongful, discriminatory removal of
Dr. Wines’s academic appointment, Dr. Wines has suffered lost wages; lost benefits; costs related
to survival without income from work; stress to Dr. Wines and his family; reputation harms; and
the loss of potential future research, publication, grant, employment, and other professional
opportunities.

In the event of recovery, the plaintiff believes, and therefore avers that recovery will be in
excess of Fifty Thousand ($50,000.00) Dollars.

The plaintiff reserves the right to introduce further evidence at the time of trial.

Respectfully submitted,
James D. Wines, Jr., M.D., M.P.H.,

By his Attorneys

Dated: November 8, 2024 /s/ Sarah M. Milkovich
Sarah M. Milkovich (BBO No. 705661)
Douglas S. Brooks (BBO No. 636697)
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